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                              Attorneys for Defendants
                   7
                              NAPOLI BERN RIPKA & ASSOCIATES,
                   8          LLP; NAPOLI BERN RIPKA SHKOLNIK &
                              ASSOCIATES, LLP;
                   9          NAPOLI BERN RIPKA SHKOLNIK, LLP;
                              NAPOLI BERN RIPKA, LLP;
                10            NAPOLI KAISER BERN, LLP;
                              MARC J. BERN; AND PAUL J. NAPOLI
                11
                12
                                                     UNITED STATES DISTRICT COURT
                13
                                                   CENTRAL DISTRICT OF CALIFORNIA
                14
                              MARC I. WILLICK, an individual,,        Case No. 2:15-cv-652
                15
                                             Plaintiff,
                16
                              v.                                      DEFENDANTS’ NOTICE OF
                17                                                    RELATED CASES
                18            NAPOLI BERN RIPKA &                     [C.D. CAL. LOCAL RULES, R. 83-1.3.1]
                              ASSOCIATES, LLP, a purported
                19            limited liability partnership; NAPOLI
                              BERN RIPKA SHKOLNIK &
                20            ASSOCIATES, LLP, a purported            Complaint Filed: October 15, 2014
                              limited liability partnership;
                21            NAPOLI BERN RIPKA SHKOLNIK,
                              LLP, a purported limited liability
                22            partnership; NAPOLI BERN RIPKA,
                              LLP, a purported limited liability
                23            partnership; NAPOLI KAISER BERN,
                              LLP, a purported limited liability
                24            partnership; MARC J. BERN, an
                              individual; PAUL J. NAPOLI, an
                25            individual; and DOES 1 through 50,
                26                           Defendants.
                27
                28
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                              RELATED CASES
                             Case 2:15-cv-00652-AB-E Document 5 Filed 01/28/15 Page 2 of 2 Page ID #:85



                   1          TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
                   2          CENTRAL DISTRICT OF CALIFORNIA:
                   3                   Pursuant to Local Rule 83-1.3 of the United States District Court for the Central
                   4          District of California, Defendants NAPOLI BERN RIPKA & ASSOCIATES, LLP;
                   5          NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP; NAPOLI BERN
                   6          RIPKA SHKOLNIK, LLP; NAPOLI BERN RIPKA, LLP; NAPOLI KAISER BERN,
                   7          LLP; MARC J. BERN; and PAUL J. NAPOLI (“Defendants”) hereby aver that, to
                   8          their knowledge, no action previously filed in the Central District appears to arise
                   9          from the same or substantially identical transactions, happenings, or events as those
                10            alleged in the underlying action.
                11                     To Defendants’ knowledge, no action previously filed or currently pending in
                12            the Central District appears to call for a determination of the same or substantially
                13            identical questions of law and fact or will entail substantial duplication of labor if
                14            heard by different judges.
                15            Dated: January 28, 2015
                16
                17                                                         /s/ Courtney Hobson
                                                                           JUDY M. IRIYE
                18                                                         COURTNEY S. HOBSON
                                                                           LITTLER MENDELSON, P.C.
                19                                                         Attorneys for Defendants NAPOLI
                                                                           BERN RIPKA & ASSOCIATES,
                20                                                         LLP; NAPOLI BERN RIPKA
                                                                           SHKOLNIK & ASSOCIATES, LLP;
                21                                                         NAPOLI BERN RIPKA SHKOLNIK,
                                                                           LLP; NAPOLI BERN RIPKA, LLP;
                22                                                         NAPOLI KAISER BERN, LLP;
                                                                           MARC J. BERN; AND PAUL J.
                23                                                         NAPOLI
                24            Firmwide:131371594.2 999999.3072

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                              RELATED CASES
